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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               (Fort Lauderdale Division)

                        Case Number:

     JEFFREY STANLEY,

           Plaintiff,

     vs.

     ALBERT LAMBERTI, in his official
     capacity as Broward County
     Sheriff,

           Defendant.
                                            /

                           Complaint — Jury Trial Demanded

     Count I: Claim Under 42 U.S.C. § 1983 for Violation of First Amendment

           Plaintiff, Jeffrey Stanley, sues defendant Albert Lamberti, in his official

     capacity as Sheriff of Broward County, and alleges:

                               Introduction and Summary

           1.     This is an action by Jeffrey Stanley, a former Broward Sheriff’s

     Office detention deputy whose rehiring process was truncated by then-

     Broward Sheriff Albert Lamberti December 4, 2008 because Mr. Stanley had

     been caught wearing a “Cops for Israel” t-shirt during the 2008 election

     campaign for sheriff. Mr. Stanley sues pursuant to 42 U.S.C. § 1983 for

     declaratory and injunctive relief, for compensatory damages, for punitive




aa
pa   The Amlong Firm ! 500 Northeast Fourth Street ! Fort Lauderdale, FL 33301 ! 954.462.1983
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 damages (only as to Mr. Lamberti in his individual capacity), and for his

 costs and litigation expenses because of Mr. Lamberti’s retaliation against

 him for exercising his first-amendment right to support whomever he

 chooses politically.1

                           Jurisdiction and Venue

       2.    This case arises under the First Amendment to the United States

 Constitution, as extended to the States by the Fourteenth Amendment, and

 42 U.S.C. § 1983. This Court has jurisdiction pursuant to 28 U.S.C. § 1331.

       3.    The claim being sued upon arose in Broward County, Florida,

 which is where the claim arose and where the defendant resides.

                                    Parties

       4.    Plaintiff Jeffrey Stanley is a former detention deputy with the

 Broward Sheriff’s Office (“BSO”) who had resigned in 2007 to take a better-

 paying job, but who in late 2008 was reapplying to the BSO.

       5.    Defendant Albert Lamberti is the elected sheriff of Broward

 County. At all times material, Lamberti and his deputies acted towards



       1
        Plaintiff’s counsel is aware of Cutcliffe v. Cochran, 117 F.3d 1353
 (11th Cir. 1997), rehearing en banc denied, 128 F.3d 1465 (11th Cir. Fla.
 1997), and Terry v. Cook, 866 F.2d 373 (11th Cir.1989). He files this
 complaint, however, for two reasons: One, Mr. Stanley’s situation is
 distinguished by his having been, and having applied once again to be, a
 detention deputy, or jailer, as opposed to a law enforcement deputy; and,
 Two, after reviewing Hon. Rosemary Barkett’s opinion in Cutcliffe, as well as
 her dissent from the denial of rehearing en banc in that case, plaintiff’s
 counsel believes that the facts of this case give rise to “nonfrivolous
 argument for extending, modifying, or reversing existing law or for
 establishing new law.” Federal Rule of Civil Procedure 11(b)(2).

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 Brannon under color of state law. Lamberti personally was the final policy

 maker for the BSO. He is sued in his official capacity damages, declaratory

 and injunctive relief, attorney’s fees and costs.

                              General Allegations

         6.    Mr. Stanley worked as a Certified Detention Deputy from

 February 2001 through December 2007, when he resigned to take a job as a

 director of security at a new hospital that was going to open on Miami

 Beach.

         7.    When the hospital at which Mr. Stanley was going to work did

 not open, Mr. Stanley applied for rehire on May 2, 2008.

         8.    BSO extended a conditional offer of employment to Mr. Stanley

 September 25, 2008, contingent on a polygraph examination, a

 psychological evaluation, a background investigation, a medical examination,

 a review of his application materials and a final review of his file.

         9.    By November 2008, BSO had waived the psychological

 evaluation and polygraph examination, and Mr. Stanley had successfully

 completed all of the other requirements.

         10.   On October 15, however, Mr. Stanley had attended an

 informational picketing by the Federation of Public Employees (“FOPE”) local

 that represented the detention deputies: the picketing concerned highly

 contentious contract negotiations between BSO and FOPE going on at the

 time.




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          11.   A BSO photographer took pictures of the picketers, including Mr.

 Stanley.

          12.   That evening, Mr. Stanley also attended a debate between Mr.

 Lamberti and Scott Israel, a Democrat running against him.

          13.   A BSO photographer took photos at the debate of FOPE

 members, including Mr. Israel, who were wearing Scott Israel tee-shirts.

          14.   Mr. Lamberti was elected sheriff November 4, 2008.

          15.   Mr. Stanley on December 4, 2008 spoke with his former

 supervisor, Major Kim Spadaro, who had asked him to let her know as soon

 as he passed all the requirements so that she could arrange to have him

 again placed under her command.

          16.   Shortly after that conversation, however, Lieutenant David

 Benjamin telephoned Mr. Stanley to inform him that BSO would not be re-

 hiring him because BSO had a photograph of him wearing a “Cops for Israel”

 shirt.

          17.   Lt. Benjamin in that same telephone conversation quoted Mr.

 Lamberti as personally stating that if Mr. Stanley would not support Mr.

 Lamberti for re-election, then why would Mr. Lamberti re-hire Mr. Stanley?

          18.   The following week, BSO sent Mr. Stanley a letter stating that it

 would not be re-hiring him as a detention deputy because “areas of concern

 arose during the selection process.”

          19.   When Mr. Stanley e-mailed Kristin Glansen, the BSO Human

 Resources Analyst handling his application, to ask what where those “areas

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 of concern” that caused BSO to discontinue processing his application, she

 told him that Lt. Benjamin had already spoken to him at length about the

 reason that BSO was not rehiring him.

       20.   Indeed, Mr. Lamberti’s lawyer admitted Mr. Lamberti’s political

 motivation in the initial brief of a successful appeal from a Public Employee

 Relations Commission decision that found that BSO had committed an unfair

 labor practice when it failed to re-hire Mr. Stanley because of his

 participation in “concerted activity” with FOPE:

       This [union] membership did not prevent him frm receiving a
       conditional offer of reemployment. It was not until [Mr. Stanley]
       publicly supported the Sheriff’s opponent that he was denied
       reemployment. The facts do not establish that the Sheriff’s decision
       not to hire [Mr. Stanley] was in any way motivated by his union
       status.

       21.   As a direct, natural and proximate result of the behavior of Mr.

 Lamberti’s actions towards Mr. Stanley, Mr. Stanley has suffered damages,

 including but not limited to:

             a.    lost earnings;

             b.    diminishment of earning capacity; and

             c.    emotional distress and mental anguish.

       22.   Mr. Lamberti’s reprisal against Mr. Stanley for Mr. Stanley’s

 political support of Mr. Israel for sheriff is causing Mr. Stanley irreparable

 harm, i.e., a violation of his First Amendment right to participate in electoral

 politics, for which there is no plain, adequate, or complete remedy at law.




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       23.   If not enjoined by this Court, Mr. Lamberti would continue to use

 his office as Sheriff of Broward County to inhibit Mr. Stanley’s being re-hired

 to retaliate against him for his political support of Mr. Israel in 2008.

       WHEREFORE, Plaintiff, Jeffrey Stanley, prays that this Court will grant

 judgment for him, and against Defendant, Albert Lamberti, in his official

 capacity as Sheriff of Broward County:

       One, determining and declaring that Mr. Lamberti’s actions against Mr.

 Stanley constitute a violation of Mr. Stanley’s first-amendment rights;

       Two, enjoining Mr. Lamberti, in his official capacities, any successor,

 and anyone working in concert with Mr. Lamberti, from continuing to

 retaliate against Mr. Stanley;

       Three, awarding damages against Mr. Lamberti in his official capacity;

       Four, awarding costs, including attorney’s fees and litigation

 expenses, against Mr. Lamberti in his official capacity; and

       Five, granting such other and further relief as is just.




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                             Demand for Jury Trial

       Plaintiff demands jury trial by jury on all issues so triable.

                                      Respectfully Submitted,


                                      /s/   William R. Amlong
                                      WILLIAM R. AMLONG
                                      Florida Bar No: 470228
                                      WRAmlong@TheAmlongFirm.com
                                      KAREN COOLMAN AMLONG
                                      Florida Bar No: 275565
                                      KAmlong@TheAmlongFirm.com

                                      AMLONG & AMLONG, P.A.
                                      500 Northeast Fourth Street
                                      Second Floor
                                      Fort Lauderdale, Florida 33301-1154
                                      (954) 462-1983

                                      Attorneys for the Plaintiff,
                                           Jeffrey Stanley




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